









Dismissed and Memorandum Opinion filed January 8, 2004









Dismissed and Memorandum Opinion filed January 8,
2004.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-03-01331-CR

____________

&nbsp;

MARTIN ROSAKES NORIA,
Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the
178th District Court

Harris County, Texas

Trial Court Cause No. 963,640

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp;
O P I N I O N

Appellant entered a guilty plea to the offense of driving
while intoxicated.&nbsp; In accordance with
the terms of a plea bargain agreement with the State, the trial court sentenced
appellant on October 30, 2003, to confinement for two years in the
Institutional Division of the Texas Department of Criminal Justice.&nbsp; Appellant filed a pro se notice of
appeal.&nbsp; Because appellant has no right
to appeal, we dismiss.&nbsp; 








The trial court entered a certification of the defendant=s right to appeal in which the court
certified that this is a plea bargain case, and the defendant has no right of
appeal.&nbsp; See Tex. R. App. P. 25.2(a)(2).&nbsp; The trial court=s certification is included in the
record on appeal.&nbsp; See Tex. R. App. P. 25.2(d).

Accordingly, we dismiss the appeal.&nbsp; 

&nbsp;

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum
Opinion filed January 8, 2004.

Panel consists of Justices Yates,
Hudson, and Fowler.

Do Not Publish C Tex. R. App. P. 47.2(b).

&nbsp;





